Case 2:12-cv-02623-CM-GLR Document1 Filed 09/21/12 Page 1 of 10

IN THE UNITED STATES DISTRICT COURT oe
FOR THE DISTRICT OF KANSAS oe a

Miehgel E. - Love

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)
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)
(Enter above the full name of the Plaintiff(s) )
)
) Case Number: / ao W -“Lh23 CIA I alk.
Sob c[Whrteheod Cstee| tate T havest,6LC efac
Name Th )
(Sw _[0"" St- )
Street and number )
Kasas KS GGl62 )
City State Zip Code )
(Enter above the full name and address of the
Defendant in this action - list the name and
address of any additional defendants on the back
side of this sheet).
CIVIL COMPLAINT

L. Parties to this civil action:

({n item A below, place your name in the first blank and place your present address in the
second blank. Do the same for additional plaintiffs, if any, on the back side of this sheet).

A. Name of painitt PO Lael E. Kole [4 chae C*Lo “He
Address f Sw 10 rh sa _Koansa s CL, Ks
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(In item B below, write the full name of the defendant in the first blank. In the second
blank, write the official position of the defendant. Use item C for the names and positions
of any additional defendants).

B. Defendant Dv he Shi head Cet cal back Lave stor etal
employed at {Sa 1orr St Kes as City Ks
66(p 2

C. Additional Defendants

Jurisdiction:

(Complete one or more of the following subparagraphs, A.. B.], B.2., or B.3., whichever
is applicable.)

A. Uf Applicable) Diversity of citizenship and amount:

1. Plaintiff is a citizen of the State of Y cs Kas AS

2, The first-named defendant above is either

a. a citizen of the State of A A SAS :or

b. a corporation incorporated under the laws of the State of
f\ AS As __ and having its principal place of business in a State other
than the State of which plaintiff is a citizen.

3. The second-named defendant above is either

a. a citizen of the State of Ma—. or
Z

b. a corporation incorporated under the laws of the State of
Sn -—__and having its principal place of business in a State
other‘than the State of which plaintiff is a citizen.

(If there are more than two defendants, set forth the foregoing information for

2
UI.

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each additional defendant on a separate page and attach it to this complaint.)

Plaintiff states that the matter in controversy exceeds, exclusive of interest and
costs, the sum of seventy-five thousand dollars ($75,000.00).

B. (If applicable) Jurisdiction founded on grounds other than diversity (Check any
of the following which apply to this case).

1. This case arises under the following section of the Constitution of
the United States or statute of the United States (28 U.S.C. §1331):

Constitution, Article , Section Sage Or 4 S /<
Statute, US Code, Title . Section_ YO SF 6)

2. This case arises because of violation of the civil or equal rights,
privileges, or immunities accorded to citizens of, or persons within
the jurisdiction of, the United States (28 U.S.C. §1343).

3, Other grounds (specify and state any statute which gives rise to
such grounds):

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( Jew s's 4)

Statement of Claim:

(State here a short and plain statement of the claim showing that plaintiff is entitled to
relief. State what each defendant did that violated the right(s) of the plaintiff, including
dates and places of such conduct by the defendant(s). Do not set forth legal arguments.
If you intend to allege more than one claim, number and set forth each claim in a separate
paragraph. Attach an additional sheet, if necessary, to set forth a short and plain
statement of the claim[s].)

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IV.

VII.

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Relief:

(State briefly exactly what judgement or relief you want from the Court. Do not make
legal arguments.)

Do you claim the wrongs alleged in your complaint are continuing to occur at the present
time? CBI ] Nol ]

Do you claim actual damages for the acts alleged in your complaint? (ves? ] Nof ]

Do you claim punitive monetary damazeso(Yor\ |] Nof[ ]

If you answered yes, state the amounts claimed and the reasons you claim you are
entitled to recover money damages. rv

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VUI. Administrative Procedures:

A. Have the claims which you make in this civil action been presented through any
type of Administrative Procedure within any government agency ?(¥es | ] No[ ]

B. If you answered yes, give the date your claims were presented, how they
were presented, and the result of that procedure:

Done 7, 20/2.

C. If you answered no, give the reasons, if any, why the claims made in this action
have not been presented through Administrative Procedures:

IX. — Related Litigation:

Please mark the statement that pertains to this case:

V0 This cause, or a substantially equivalent complaint, was previously filed in
this court as case number and assigned to the
Honorable Judge

fA O Neither this cause, nor a substantially equivalent complaint, previously

has been filed in this court, and therefore this case may be opened as an

original proceeding.
ALS CF.

Signature of Plaintiff

Name (Print or Type)

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Address

FISAC bG6roz

City State Zip Code

Gl4-E653-—-T3479

Telephone Number

DESIGNATION OF PLACE OF TRIAL

Plaintiff designates (Wichita, (Kansas Cin oe Topeka ), Kansas as the location for the
(citele one location)
PLLA ES cL.

Signature of Plaintiff

trial] in this matter.

REQUEST FOR TRIAL BY JURY

Plaintiff requests trial by jones) or no).
(circle one)

Signature of Plaintiff

Dated: OV, 2), SZ
(Rev. 8/07)
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MENT Op, U.S. DEPARTMENT OF HOUSING AND URBAN DEVELOPMENT
gr oe Region VII
a | "| ] % OFFICE OF FAIR HOUSING AND EQUAL OPPORTUNITY
3 x a Gateway Tower II, 4" Floor
% ly | £ 400 State Avenue
o } x

Kansas City, KS 66101-2406

August 22, 2012

Michael E. Love
15 North 10th Street, Apt. 1115
Kansas City, KS 66102

Dear Mr. Love:

SUBJECT: Love v. Suber/Whitehead/Central Park Investors, LLC, et al

HUD Case No: 07-12-0548-8
Hub Case Now OF7-12- O57 8-6G

This letter acknowledges receipt of your signed complaint. If you have any

questions, please call our office, at (913) 551-6961, or write to the above imprinted

address.

Sincerely,

Dohn Farley

Equal Opportunity Specialist

Fair Housing Enforcement Branch
Enclosure

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June 7, 2012

HOUSING DISCRIMINATION COMPLAINT

CASE NUMBER: 07-12-0548-8

1.

Complainant

Michael E. Love

15. N. 10th Street

Apt. 1115

Kansas City, KS 66102

Other Aggrieved Persons
None.
The following is alleged to have occurred or is about to occur:

Discriminatory terms, conditions, privileges, or services and facilities.
Discriminatory acts under Section 818 (coercion, Etc.).

The alleged violation occurred because of:
Race and religion.

Address and location of the property in question (or if no property is
involved, the city and state where the discrimination occurred):

15 N. 10th Street
Apt. 1115
Kansas City, KS

Respondent(s)

Ricky Suber, Site Manager
Sunrise Towers

15.N. 10th Street

Kansas City, KS 66102

Carmen Whitehead, Assistant Manager
Sunrise Tower

15 N. 10th Street

Kansas City, KS 66102
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PK Management, LLC

i : c/o Yvette Rouff, Resident Agent
15 N. [Oth Street
Kansas City, KS 66102

Central Park Investors, LLC

c/o Yvette Rouff, Resident Agent
15 N. 10th Street

Kansas City, KS 66102

7. The following is a brief and concise statement of the facts regarding the
alleged violation:

Sections: 804(b), 818

Issues: Discriminatory Terms and Conditions, Threatening, Harassment,
Intimidation

Bases: Race (African American), Religion (Jewish)

Allegation: Failure to Provide Safe & Peaceful Living Environment

Complainant (African American) alleged Respondents are discriminating against
him, and subjecting him to acts of threats, intimidation and harassment by failing
to provide him a safe and peaceful living environment. He alleged that
beginning in April 2012 through May 29, 2012, and continuing, Respondents’
unidentified security guard aka Mack (Caucasian), on a minimum of twenty (20)
occasions subjected him (Complainant) to derogatory racial & religious
comments, by referring to him (Love) as “Nigger” and “Black Jew.” He alleged
Mack used these terms in direct conversations with him and other tenants residing
in the subject property. He alleged Mack’s statements cause him harm by
denying him a safe & peaceful living environment. Complainant alleged that
during April 2012, and on/or about May 30, 2012, he complained to Respondent
Ricky Suber (African American), Site Manager, and Respondent Carmen
Whitehead (African American), Assistant Manager, regarding Mack’s alleged
derogatory statements; and requested that Respondents take actions to provide
him a safe & peaceful living environment. He alleged that to date, Respondents
have failed to take any actions to prevent him from being subjected to derogatory
statements by Mack, and to provide for a safe & peaceful living environment.

He alleged that by their lack of action, Respondents are subjecting him to
discriminatory housing practices, threats, intimidation, and harassment, based on
race and religion.

8. The most recent date on which the alleged discrimination occurred:

May 30, 2012.

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9, Types of Federal Funds identified:
HUD Assisted Housing (202, 811, 221D4, Project Based Section 8).

10. The acts alleged in this complaint, if proven, may constitute a violation of the
following:

Sections 804b or f and 818 of Title VII of the Civil] Rights Act of 1968 as
amended by the Fair Housing Amendments Act of 1988.

Title VI of the Civil Rights Act of 1964.
Please sign and date this form:

I declare under penalty of perjury that I have read this complaint (including any
attachments) and that it is true and correct.

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Michael E. Love (D ate)

NOTE: HUD WILL FURNISH A COPY OF THIS COMPLAINT TO THE
PERSON OR ORGANIZATION AGAINST WHOM IT IS FILED.

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